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                                          Terence RICHOUX
                                            Attorney-at-law
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         75006 PARIS                             Toque E 780                         Phone: 09 53 96 75 65


                                                                                   Margaux Durand-Poincloux
                                                                                            Associate attorney

                                                                                           7, rue Gustave Flaubert
                                                                                                       75017 Paris

By email: mp@abpa-avocats.com

                                                                                           Paris, October 30, 2023

OFFICIAL

Subject: Proposal of Mr. Arnaud PARIS

Dear Colleague,

I am writing back to you in this matter and request that you to intervene on behalf of Mr. Arnaud
PARIS.

He has asked me to send you his proposal concerning his relationship with your client and the
management of the ongoing litigation.                             •

   1) Mr. PARIS commits to give shared custody of the girls to Ms. BROWN if she moves to
      France.
   2) This shared custody would be conditional on the termination of the proceedings in the
      United States, in particular:
           a. Ms. BROWN withdraws her objection to the registration of the second French 1ST
              [departure ban] ruling of August 25 in Portland, Oregon
           b. Ms. BROWN accepts the review of the Oregon appeal of the registration of the
              first French ruling of April 21, 2023
           c.   Ms. BROWN does not object to any of the registrations of the two French rulings
                in the other US states
           d. Ms. BROWN abandons her custody proceedings before the Oregon judge and
              any similar proceedings
           e. Ms. BROWN agrees to sell to Mr. PARIS her share of the land they had jointly
              purchased in California, in order to recover the amount she had invested in it



                                            SIRET 80220509600034
                Member of an approved management association - Payment of fees by check is accepted




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   3) Ms. BROWN could use Mr. PARIS's apartment in Paris with the children for a period of
      one month to permit her to locally make arrangements to find a new home.

   4) Mr. PARIS agrees to drop all criminal proceedings for kidnapping and fraud against your
      client and all those involved in the case.

   5) In return Ms. BROWN would likewise definitively withdraw from all criminal proceedings
      in the United States.
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I propose that we arrange a mediation meeti~.l:1~ 'c~~~,nience
                                                         0
                                                               in order to find an amicable
solution to this case.                 ~!j't-r;{" ~Ui,,, ~
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If you have any further questions, please   ~f. ot"fie's1t'13te lo c~tact me.
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Sincerely yours,                                  \1-lr:;__~r1ified Tin\'l~\\~9
                                                        -~~sssss-
                                                                                                      Terence RICHOUX
                                                                                                          Attorney-at-law

                                                                                                                      [Signature]




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                                    Terence RICHOUX
                                         A vocat ala Cour
      14 me de l'Odeon                    Cour d'appel de Paris            terence.richoux@trx-legal.com
        75006 PARIS                          Toque E 780                         Tel: 09.53.96.75.65




                                                                         Margaux Durand-Poincloux
                                                                                   Avocate associee

                                                                                   7, rue Gustave Flaubert
                                                                                               75017 Paris


Par courriel : mp@abpa-avocats.com




                                                                                  Paris, le 30 octobre 2023



OFFICIEL



Objet : Proposition de Monsieur Arnaud PARIS

Mon Cher Confrere,

Je reviens vers vous dans ce dossier et vous rappelle intervenir pour Monsieur Arnaud PARIS.

Ce dernier m'a sollicite afin de transmettre sa proposition en ce qui concerne ses relations avec
votre cliente et la gestion du contentieux en cours.

                                    a                                         a
    1) Monsieur PARIS s'engage donner la garde partagee des filles Madame BROWN si cette
       derniere vient s'installer en France
    2) Cette garde partagee serait conditionnee al'arret des procedures aux Etats-Unis et
       notamment:
           a. Madame BROWN retire son objection a l'enregistrement du second jugement
               franc;ais d'IST du 25 aout aPortland dans l'Oregon
           b. Madame BROWN accepte la revision de la procedure d'appel dans !'Oregon de
               l'enregistrement du premier jugement franc;ais du 21 avril 2023
           c. Madame BROWN ne fait pas objection aaucun des enregistrements des deux
               jugements franc;ais dans les autres etats des USA
           d. Madame BROWN abandonne sa procedure de demande de droit de garde devant
               son juge de l'Oregon ainsi que toute procedure analogue,
           e. Madame BROWN accepte de vendre aMonsieur PARIS sa part du terrain qu'ils
               avaient achete en commun en Californie pour recuperer le montant qu'elle y avait
               mis,

                                          SIRET80220509600034
       Membre d'une association de gestion agreee - Le reglement des honoraires par cheque est accepte


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3) Madame BROWN pourrait utiliser l'appartement de Monsieur PARIS dans la capita le avec les
enfants sur une periode d'un mois pour avoir la possibilite de s'organiser sur place pour trouver un
nouveau logement,

4) Monsieur PARIS accepte d'abandonner toutes les procedures penales pour enlevement et
   escroquerie contre votre cliente et taus les intervenants du dossier,

5) En contrepartie Madame BROWN se desisterait egalement de toutes les procedures penales aux
   USA de maniere definitive

Je vous propose d'organiser une reunion de mediation a votre convenance afin de trouver une
solution amiable ace dossier.



Je reste naturellement avotre disposition pour toute question complementaire.

Votre bien devoue.



                                                                                  Terence RICHOUX
                                                                                   Avocat ala Cour




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